         Case 1:20-cv-02984-RDM Document 13 Filed 06/21/21 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                      )
 SEE, INC., et al.,                                   )
                                                      )
                  Plaintiffs,                         )
                                                      )
        v.                                            )      Civil Action No. 20-2984 (RDM)
                                                      )
 MARTIN J. WALSH, Secretary of Labor, et al.,         )
                                                      )
                  Defendants.                         )
                                                      )

                  DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT

       Pursuant to Pursuant to Federal Rule of Civil Procedure 56, Defendants Martin J. Walsh,

in his official capacity as Secretary of Labor, the U.S. Department of Labor, and the Board of Alien

Labor Certification Appeals, by and through undersigned counsel, respectfully move this Court to

enter summary moves for summary judgment in this action brought by Plaintiffs See, Inc. and

Nimish Nishith Bhat under the Administrative Procedures Act because there is no genuine issue

as to any material fact, and Defendants are entitled to judgment as a matter of law. In support of

the motion, Defendants respectfully submit a memorandum of points and authorities in support of

Defendants’ cross-motion and in opposition to Plaintiffs’ motion for summary judgment and a

proposed order.

                                            *    *   *
        Case 1:20-cv-02984-RDM Document 13 Filed 06/21/21 Page 2 of 2




Dated: June 21, 2021

                                          Respectfully submitted,

                                          CHANNING D. PHILLIPS, D.C. Bar #415793
                                          Acting United States Attorney

                                          BRIAN P. HUDAK
                                          Acting Chief, Civil Division


                                          By:           /s/ Stephen DeGenaro
                                                STEPHEN DEGENARO
                                                D.C. Bar #1047116
                                                Assistant United States Attorney
                                                555 Fourth Street, NW
                                                Washington, D.C. 20530
                                                Telephone: (202) 252-7229
                                                Facsimile: (202) 252-2599
                                                stephen.degenaro@usdoj.gov

                                          Attorneys for the United States of America




                                      2
